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           EXHIBIT N
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Carbone, Elizabeth A

From:                                            Joseph Lauda <jlauda@redidirect.com>
Sent:                                            Sunday, October 11, 2020 1:41 PM
To:                                              sbl-abuse@godaddy.com
Cc:                                              Robert Dyrsten; Paul Kane
Subject:                                         Re: Update [Incident ID: 43074009] - account restore redidata.com



Please allow this email to serve as notification that we wish to reinstate our suspended services and agree to
transfer our services associated with redidata.com to a provider not partnered with GoDaddy or any of its
affiliates within 48 hours of reinstatement. This includes email and hosting services related to redidata.com

Please reply to all copied on this email with confirmation and notice of when reinstatement commences.

Thank you,

Joe Lauda
Corporate Controller
Redi-Data, Inc.


Get Outlook for iOS

From: sbl-abuse@godaddy.com <sbl-abuse@godaddy.com>
Sent: Friday, October 9, 2020 2:23:04 PM
To: Joseph Lauda <jlauda@redidirect.com>
Subject: RE: Update [Incident ID: 43074009] - account restore redidata.com

   Here's some information about your request.




           Here's our response to your request.
            Discussion Notes
            Support Staff Response
            Hello Joseph Lauda,

            In order to resolve the issue such that a reinstatement of your domain name would not simply
            result in the reinstatement of the blacklist affecting an IP address on our network, you will need to
            contact Spamhaus.

            Please let us know the outcome of this matter along with confirming your commitment to adhere to
            GoDaddy policies going forward.
                                                                          1
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       Once we have confirmation from Spamhaus that they are have closed this issue we will be happy
       to reinstate your services.

       If you are unable to reach a resolution with them and wish to reinstate your suspended services you
       will need to agree to transfer your services associated with redidata.com to a provider not
       partnered with GoDaddy or any of our affiliates within 48 hours of reinstatement. This would
       include all email and hosting services related to redidata.com.

       Please let us know how you would live to proceed.

       Thank you for your cooperation.

       Regards

       Digital Crimes Unit
       Customer Inquiry
       Update [Incident ID: 43080207] - RE: Update [Incident ID: 43074009] - account restore
       redidata.com Notice: This email is from an external sender. Our pin is 2436. Thank you.



       If you need additional help, please reply to this email and reference [Incident ID:
       43080207].




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